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                                                          EXHIBIT A
                                                  (Second omnibus Objection)


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      ~;~r~ae ~f' ~~<~i~z~~t~t   ~'txti~~~ i°ti~~~nnb~er ~, ~`~~~~~~ ~~4~~o~un~   C~ait~~ r~rz~au~~t         P+,e:~~nn ~'o~ 14~~t~~ic:~t~io~

Ean Services LLD,dba National           352                     $211,663.93            $210,705.14     odified Amount is debt reflected in the
Car Rental and Ente rise                                                                               ebtors' books and records
Rent-a-Car
                                                                                                                                                  Case 16-10238-MFW




VistaJet US,Inc.                        224                   $1,740,134.00            $818,486.28     odified Amount is debt refle~,ted in the
                                                                                                       ebtors' books and records

Steptoe &Johnson LLP                    314                     X614,735.23            $480,292.72     odified Amount is debt reflected in the
                                                                                                       ebtors' books and records
                                                                                                                                                  Doc 1817-2




epic Tents, LLC                          384                    $442,648.00                    $0.00   adified Amount is debt reflected in the
                                                                                                       ebtors' books and recor~~s

Paul Hastings LLP (scheduled}         Sched I'                $1,958,105.01.         $1,758,105.01     odified Amount is debt reflected in the
                                                                                                       ebtors' books and records
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